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The foregoin u otion for Extension of Time, having been presented to the Court, is

hereby Ord eeGRANTED DENIED on this g O day of va»§ 2005.

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BY THSC%}?TQ@

Jud e/Clerk

 

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CARR_IER CORPORATION, ) CIVIL NO. 2:05-6\1-02307-1\‘/\11{¥“ n
plaintiff ) ihli.=a'lfkb in
) = i'r-HK U.S bill 49
1_1?!|¢¢15 ‘JOF"§ q n
v. )
)
PAUL P. PIPER, JR., et al., )
Defendants. )

MOTION OF CARRIER CORPORATION FOR EXTENSION OF TIME

Pursuant to Local Rule 7.1(a), Plaintiff, Carn`er Corporation (“Carrier”), hereby
respectfully moves this Court for an extension of time, up to and including August 26, 2005, by
which to respond to Defendant Quanex Corporation’s (“Quanex”) motion to dismiss dated July
14, 2005. Counsel for Quanex consents to this motion for an extension of time.

WHEREFORE, for all the reasons set forth in the accompanying memorandum of law,
this Court should grant Carrier its requested extension of time to respond to Quanex’s motion to
dismiss.

Dated: Stamford, Connecticut
August 9, 2005
Respectfully submitted,
CARRJER CORPORATION

airwij

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\IJoey Lee Miranda

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 2:05-CV-02307 Was distributed by fax, mail, or direct printing on
August ll, 2005 to the parties listed.

ESSEE

 

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Honorable J on l\/lcCalla
US DISTRICT COURT

